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  14                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
  15                                WESTERN DIVISION
                                                 Case No. 2:21-cv-04405-RGK-MAR
  16   PAUL SNITKO, JENNIFER
       SNITKO, JOSEPH RUIZ, TYLER                PLAINTIFFS’ NOTICE OF
  17   GOTHIER, JENI VERDON-                     MOTION FOR CLASS
       PEARSONS, MICHAEL STORC,                  CERTIFICATION AND
  18   and TRAVIS MAY,                           MEMORANDUM IN SUPPORT
  19                                 Plaintiffs, (Filed
                                                 in
                                                        Concurrently with Declarations
                                                    Support of Plaintiffs’ Motion for
                    v.                           Class Certification and Proposed
  20
                                                 Order)
  21   UNITED STATES OF AMERICA,
       TRACY L. WILKISON, in her
  22   official capacity as Acting United
       States Attorney for the Central
  23   District of California, and KRISTI        Date: September 27, 2021
       KOONS JOHNSON, in her official            Time: 9:00 A.M.
  24   capacity as an Assistant Director of
       the Federal Bureau of Investigation, Courtroom:       850
                                                 Judge: Hon. R. Gary Klausner
  25
                                   Defendants. Trial  Date: TBD
                                                 Complaint Filed: May 27, 2021
  26
                                                 Amended Complaint Filed: June 9, 2021
  27

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             PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION AND MEMORANDUM IN SUPPORT
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   1         PLEASE TAKE NOTICE that on September 27, 2021 at 9:00 A.M. or as
   2   soon thereafter as this matter may be heard, in Courtroom 850 of this Court located
   3   at Roybal Federal Building and U.S. Courthouse, 255 East Temple Street, 8th
   4   Floor, Los Angeles, CA 90012, Plaintiffs Paul Snitko, Jennifer Snitko, Tyler
   5   Gothier, Joseph Ruiz, Jeni Verdon-Pearsons, Michael Storc, and Travis May will
   6   and hereby do move to certify the following class under Federal Rule of Civil
   7   Procedure 23(b)(2) with respect to the claim raised in Count I of the Amended
   8   Complaint, designating Plaintiffs as class representatives, and appointing Plaintiffs’
   9   counsel as class counsel: “All renters of U.S. Private Vaults safe deposit boxes who
  10   (a) had property within their safe-deposit box seized by the federal government on
  11   or around March 22, 2021; and (b) have identified themselves to the FBI since the
  12   seizure.”
  13        Plaintiffs further move to certify the following subclass under Federal Rule of
  14   Civil Procedure 23(b)(2) with respect to the claims raised in Counts II, IV, and VI
  15   of the Amended Complaint, designating Plaintiffs Paul Snitko, Jennifer Snitko,
  16   Joseph Ruiz, and Tyler Gothier as class representatives, and appointing Plaintiffs’
  17   counsel as class counsel: “All renters of U.S. Private Vaults safe deposit boxes who
  18   (a) had property within their safe-deposit box seized by the federal government on
  19   or around March 22, 2021; (b) have identified themselves to the FBI since the
  20   seizure; (c) have not been notified that their safe deposit boxes are the subject of a
  21   currently ongoing administrative or judicial forfeiture proceeding; and (d) whose
  22   property is still in the possession of the federal government.”
  23        Plaintiffs also move to certify the following subclass under Federal Rule of
  24   Civil Procedure 23(b)(2) with respect to claims raised in Counts III, V, and VI of
  25   the Amended Complaint, designating Plaintiffs Joseph Ruiz, Jeni Verdon-Pearsons,
  26   Michael Storc, and Travis May as class representatives, and appointing Plaintiffs’
  27   counsel as class counsel: “All renters of U.S. Private Vaults safe deposit boxes who
  28   (a) had property within their safe-deposit box seized by the federal government on
                                                  2
             PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION AND MEMORANDUM IN SUPPORT
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   1   or around March 22, 2021; (b) have identified themselves to the FBI since the
   2   seizure; (c) whose property is now the subject of a purported administrative
   3   forfeiture proceeding; and (d) whose property is still in the possession of the federal
   4   government.”
   5        Finally, Plaintiffs move to appoint Plaintiffs’ counsel as class counsel for the
   6   proposed class and subclasses.
   7        Certification of the proposed class and subclasses is appropriate under Federal
   8   Rule of Civil Procedure 23(b)(2), as the claims in this case seek injunctive relief
   9   that is common to the class. The class claims do not seek the return of any
  10   individual’s property; rather, the claims seek class-wide injunctive relief to compel
  11   the government to comply with the Constitution—for instance, by providing the
  12   constitutionally adequate notice that the government has thus far failed to provide.
  13   The claims in this case also satisfy all the requirements for certification under Rule
  14   23(a). The class is numerous: The government has recently disclosed, in response to
  15   discovery requests, that of the 283 boxes for which a claim has been filed, just 23
  16   have been marked for return, and just 15 have been returned. Plaintiffs also raise
  17   common issues, as Plaintiffs seek to redress constitutional violations that span the
  18   entire class. The individual named Plaintiffs’ claims are typical, as they filed this
  19   case to address those same constitutional violations. And the individual named
  20   Plaintiffs are also adequate representatives for the class, as they have no conflicts or
  21   other bars that would impede their ability to represent the class.
  22        This motion is made following the conference of counsel pursuant to L.R. 7-3,
  23   which took place on August 19, 2021.
  24        Plaintiffs’ motion is based on this Notice of Motion, the attached
  25   Memorandum of Points and Authorities, the accompanying declarations in support,
  26   other pleadings and papers on file with the Court, and any further briefing and
  27   arguments of counsel.
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   1
       Dated: August 26, 2021                 Respectfully Submitted,
   2

   3                                          /s/ Robert Frommer                    s
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   1   I.   INTRODUCTION
   2        On March 22, 2021, the government indiscriminately seized the contents of
   3   hundreds of safe deposit boxes based on its belief that the company offering the
   4   boxes—U.S. Private Vaults, Inc. of Beverly Hills, or USPV—had engaged in
   5   wrongdoing.1 The government continued to detain the seized property for months
   6   with no explanation, and many USPV box holders still have not received their
   7   property back. For many box holders, the government initiated administrative
   8   forfeiture proceedings on what appear to be arbitrary grounds, and without
   9   disclosing any factual or legal basis for its action. And the government still retains
  10   records that it generated during its criminal search and seizure, including copies of
  11   personal documents contained in the boxes.
  12        This civil-rights lawsuit seeks to vindicate Plaintiffs’ Fourth and Fifth
  13   Amendment rights by putting an end to the government’s unconstitutional behavior.
  14   The Court has already identified unconstitutional conduct by the government for
  15   certain Plaintiffs. See Order Re: Pls.’ Ex Parte Appl. for a Temp. Rest. Order, D.E.
  16   52 (June 22, 2021) (“TRO Order”); Order Re: Pls.’ Mot. for Prelim. Inj., D.E. 60
  17   (July 23, 2021) (“PI Order”). But many other similarly situated USPV box holders
  18   are still suffering from essentially identical unconstitutional conduct.
  19        Plaintiffs therefore request under Federal Rule of Civil Procedure 23(b)(2) that
  20   the Court certify a class and two subclasses of safe deposit box holders who have
  21   faced the same acts and refusals to act by the government. The “primary role” of
  22   Rule 23(b)(2) is precisely to “permit the prosecution of civil rights actions” such as
  23   this one. Parsons v. Ryan, 754 F.3d 657, 686 (9th Cir. 2014) (quoting Walters v.
  24   Reno, 145 F.3d 1032, 1047 (9th Cir. 1998)). Litigating the constitutionality of the
  25   government’s conduct on a class-wide basis is not only appropriate but crucial for
  26   ensuring that any final injunctive relief or corresponding declaratory relief ordered
  27   by this Court is broad enough to resolve these disputes fully and efficiently.
  28         1
                 Plaintiffs refer to Defendants collectively as the “government.”
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             PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION AND MEMORANDUM IN SUPPORT
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    1   II. STATEMENT OF FACTS
    2      A. Named Plaintiffs
    3        Plaintiffs and putative class representatives are all holders of safe deposit
    4   boxes at USPV whose property was seized and who identified themselves to the
    5   government seeking to have their property returned. P. Snitko Decl. ¶ 8; J. Snitko
    6   Decl. ¶ 8; Ruiz Decl. ¶ 8; Gothier Decl. ¶ 8; Verdon-Pearsons Decl. ¶ 7; Storc Decl.
    7   ¶ 7; May Decl. ¶ 7. 2
    8        The Snitkos: Plaintiffs Paul and Jennifer Snitko held a box containing jewelry,
    9   back-up hard drives, legal documents, Paul’s pilot flight log, and other personal
   10   effects. P. Snitko Decl. ¶ 5; J. Snitko Decl. ¶ 5. The government returned their
   11   property after they filed this lawsuit but continues to maintain records and copies of
   12   documents from the search of their USPV box. E.g., id. ¶¶ 10–13.
   13        Tyler Gothier: Tyler held a box at USPV that contained silver and other
   14   personal property. Gothier Decl. ¶ 5. The government returned his property after he
   15   filed this lawsuit but maintains records and copies of documents from the search of
   16   his USPV box. Id. ¶¶ 10–12.
   17        Joseph Ruiz: Joseph held a box at USPV that contained approximately
   18   $57,000 in cash that he relies on to pay his living and medical expenses. Ruiz.
   19   Decl. ¶¶ 5, 9. After the Court enjoined the government’s administrative forfeiture of
   20   his property based on the lack of notice (TRO Order at 5) and ordered the
   21   government to show cause why it continued to hold Joseph’s property (PI Order at
   22   8), the government agreed to return his property, but it continues to maintain
   23   records that it created from its investigation into Joseph’s personal and financial
   24   affairs and its search of his USPV box. Ruiz Decl. ¶¶ 11–13.
   25        Travis May: Travis stored gold and about $63,000 in cash in his USPV box.
   26   May Decl. ¶ 5. After the Court enjoined the government’s administrative forfeiture
   27   of his property based on the lack of notice (TRO Order at 5), the government
   28         2
                  All Plaintiff declarations have been filed concurrently with this motion.
                                                    2
              PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION AND MEMORANDUM IN SUPPORT
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    1   agreed to return his property, but it continues to maintain records and copies of
    2   documents from the search of his USPV box. May Decl. ¶¶ 10–12.
    3        Jeni Verdon-Pearsons and Michael Storc: Jeni and Michael are a married
    4   couple who stored about $2,000 in cash and $20,000 in silver in their USPV box.
    5   Verdon-Pearsons Decl. ¶ 5; Storc Decl. ¶ 5. After initially pursuing administrative
    6   forfeiture, the government has agreed to return Jeni and Michael’s property but has
    7   not yet done so. Even after that return, however, it will continue to maintain records
    8   and copies of documents from the search of their USPV box. E.g., Verdon-Pearsons
    9   Decl. ¶¶ 13–17; Storc Decl. ¶¶ 12–16.
   10      B. The Government Seizes And Conducts A Criminal Search Of USPV
   11             Customers’ Property
   12        USPV is a safe deposit box company that offers customers a safe and secure
   13   place to store their valuables. E.g., P. Snitko Decl. ¶ 7; J. Snitko Decl. ¶ 7; Storc
   14   ¶ 6. Some customers prefer USPV other over alternatives because its location is
   15   convenient, it had boxes available for immediate rental, and it provided customers
   16   with better hours than a bank. P. Snitko Decl. ¶ 7; J. Snitko Decl. ¶ 7; Ruiz Decl.
   17   ¶ 6; Gothier Decl. ¶ 6. USPV also protects the privacy of its customers by renting
   18   boxes to them anonymously and using biometric systems for identification.
   19        The government alleges that USPV’s anonymity also is useful for those
   20   engaged in criminal activities, and it indicted USPV on money laundering and drug
   21   trafficking charges. See United States v. U.S. Private Vaults, Inc., No. 2:21-cr-106
   22   (C.D. Cal.). The government also applied for a warrant to seize certain USPV
   23   property, including the “nests of safety deposit boxes.” Ex. A at 6. 3 The application,
   24   however, stated that the warrant would “authorize the seizure of the nests of the
   25   boxes themselves, not their contents.” Id. But since the government would
   26   “necessarily end up with custody of what is inside those boxes initially,” the
   27
              Citations to “Ex.” refer to the exhibits to the declaration of Robert E.
              3
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        Johnson, filed contemporaneously with this memorandum.
                                                   3
              PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION AND MEMORANDUM IN SUPPORT
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    1   application stated that agents would “follow their written inventory policies to
    2   protect their agencies from claims of theft or damage” and “ensure that no
    3   hazardous items are unknowingly stored in a dangerous manner.” Id. at 7. And “in
    4   accordance with their policies regarding an unknown person’s property,” the
    5   government would “look for contact information or something which identifies the
    6   owner.” Id. The government explained that such inspection “should extend no
    7   further than necessary to determine ownership.” Id. at 7 n.40 (emphasis added).
    8        The warrant issued on March 17, 2021. Ex. B. It authorized the government to
    9   seize USPV’s “business equipment,” including the “nests of safety deposit boxes
   10   and keys,” but explicitly “d[id] not authorize a criminal search or seizure of the
   11   contents of the safety deposit boxes.” Id. at 11. Instead, it stated that in “seizing the
   12   nests of safety deposit boxes, agents shall follow their written inventory policies to
   13   protect their agencies and the contents of the boxes.” Id. Finally, the warrant
   14   required that “in accordance with their written policies, agents shall inspect the
   15   contents of the boxes in an effort to identify their owners in order to notify them so
   16   that they can claim their property.” Id.
   17        The government executed its seizure warrant on March 22, 2021. Id. at 10.
   18   Notwithstanding the warrant, the search of the USPV boxes was not an inventory
   19   search. The search involved breaking open otherwise secure boxes, thereby
   20   exposing the agency to claims of theft or loss rather than protecting it. And the
   21   search did not yield a meaningful inventory of what the government seized: The
   22   government opened sealed envelopes and made records of the contents of personal
   23   documents (which are irrelevant to an inventory), but catalogued the actually
   24   valuable property in the boxes only in vague terms—such as describing various
   25   types of valuable coins as “Misc. coins.” E.g., Ex. C ¶¶ 16-21; Ex. D ¶¶ 8, 10; Ex.
   26   E. Tellingly, the government today denies having possession of “an inventory
   27   reflecting the contents of all safe deposit boxes held at” USPV at the time of the
   28   seizure. Ex. K at 90 (government response to Request for Admission No. 1).
                                                    4
              PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION AND MEMORANDUM IN SUPPORT
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    1        Other evidence confirms that this was an investigatory search. To begin with,
    2   the government searched the boxes with drug-sniffing dogs. Zellhart Decl. ¶ 2, D.E.
    3   51-1. And instead of inspecting the contents of boxes “no further than necessary to
    4   determine ownership,” the government continued to rifle through sealed envelopes
    5   and copy the documents inside even after encountering identifying information. Ex.
    6   C ¶¶ 6–15. The government also has admitted that it seeks to “examine the specific
    7   facts of each box and each claim” to “distinguish between honest and criminal
    8   customers,” because in its view “the majority of the box holders are criminals.”
    9   Gov’t Opp. to Ex Parte Appl. For Temp. Restraining Order at 10, Doe v. United
   10   States, No. 2:21-cv-02803, Doc. No. 15 at 11 (Apr. 2, 2021).
   11      C. The Government Belatedly Returns Some Property
   12        Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, and Tyler Gothier filed this
   13   lawsuit because—more than two months after the government seized their
   14   property—the government had neither returned their property nor explained why it
   15   continued to retain it. P. Snitko Decl. ¶ 9; J. Snitko Decl. ¶ 9; Ruiz Decl. ¶ 10;
   16   Gothier Decl. ¶ 9. Shortly after this case began, the government finally contacted
   17   the Snitkos and Tyler Gothier and has now returned their property. P. Snitko Decl.
   18   ¶¶ 10–11; J. Snitko Decl. ¶¶ 10–11; Gothier Decl. ¶¶ 10–11.
   19        In all, the government has stated that it intends to return the contents of about
   20   250 USPV boxes to their owners. Zellhart Decl. ¶ 12, D.E. 51-1. The government,
   21   however, continues to maintain investigative files regarding those owners,
   22   including copies of documents that were stored within the boxes. Ex. K at 90–91.
   23      D. The Government Seeks To Administratively Forfeit The Remaining
   24          Boxes Without Stating The Factual And Legal Bases For Doing So
   25        On about May 20, 2021, the government began issuing notices purporting to
   26   commence administrative forfeiture proceedings against the remaining USPV
   27   boxes. Jobe Decl. ¶ 7, D.E. 55-1. USPV received an omnibus forfeiture notice
   28   identifying about 429 boxes for forfeiture, including the boxes rented by Plaintiffs
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    1   Jeni Verdon-Pearsons, Michael Storc, Travis May, and Joseph Ruiz, all of whom
    2   (except for Joseph) also received individual notices. Exs. F–I. These notices, as
    3   well as the individual forfeiture notices the government sent to other USPV box
    4   holders, were form notices that used materially identical language that this Court
    5   previously found to be constitutionally deficient, TRO Order at 4–5. See Exs. F–I;
    6   Jobe Decl. ¶ 7, D.E. 55-1 (noting that same language was used in other notices).
    7        In response, Plaintiffs filed an Amended Complaint that added Jeni Verdon-
    8   Pearsons, Michael Storc, and Travis May as plaintiffs and added claims challenging
    9   the constitutionality of the government’s forfeiture notice and proceedings. First
   10   Am. Compl., D.E. 33 (June 9, 2021) (“FAC”). They, along with Joseph Ruiz,
   11   sought a temporary restraining order enjoining the government from seeking to
   12   administratively forfeit their property without first stating the factual and legal
   13   bases for the forfeiture. Ex Parte Appl. For TRO, D.E. 44 (June 15, 2021).
   14        The Court granted the TRO application, concluding that Plaintiffs had
   15   “established a likelihood of success on the merits of their argument that the anemic
   16   notices violate their right to due process of law.” TRO Order at 5. On July 16, 2021,
   17   the Court converted the temporary restraining order into a preliminary injunction
   18   for Travis and Joseph. Order Re: Req. for Prelim. Inj. at 3, D.E. 58 (July 16, 2021).4
   19        On July 21, 2021, the government informed Travis that it would not proceed
   20   with forfeiting his property and that it would instead return his property. Ex. J.
   21        On July 23, 2021, the Court entered another preliminary injunction, this time
   22   requiring the government to either return Joseph Ruiz’s property within seven days,
   23   or otherwise to show cause to the Court justifying the ongoing seizure. PI Order at
   24   8. The government at first did not return Joseph’s property, instead responding to
   25   the show-cause order by detailing its investigation into Joseph and his box—
   26   including the use of a drug-sniffing dog, as well as its examination of employment
   27
              4
                Because Jeni and Michael no longer “face[d] any immediate threat of
   28
        forfeiture,” the Court held that preliminary relief was no longer warranted. Id. at 4.
                                                   6
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    1   records, insurance claims records, and currency transaction reports. D.E. 64;
    2   Zellhart Decl. ¶¶ 3–5, 7, D.E. 64-1. After Plaintiffs pointed to the lack of any facts
    3   supporting probable cause and submitted documents corroborating Joseph’s claim,
    4   the government agreed to return Joseph’s property. D.E. 66.
    5        On August 16, 2021, the government stated that it would not seek to forfeit
    6   Jeni and Michael’s property and would return it. Zellhart Decl. ¶ 4, D.E. 68-1.
    7      E. Proposed Class and Subclasses
    8        Plaintiffs filed this lawsuit to vindicate both their own constitutional rights and
    9   those of other similarly situated USPV box holders who have identified themselves
   10   to the government. Plaintiffs seek to certify the following class and subclasses.
   11        Proposed Class: Plaintiffs seek to certify the following class with respect to
   12   the claim raised in Count I of the Amended Complaint: “All renters of U.S. Private
   13   Vaults safe deposit boxes who (a) had property within their safe-deposit box seized
   14   by the federal government on or around March 22, 2021; and (b) have identified
   15   themselves to the FBI since the seizure.” Plaintiffs seek to designate all named
   16   Plaintiffs as class representatives for the Proposed Class.
   17        No-Notice Subclass: Plaintiffs also seek to certify the following subclass—
   18   represented by the Snitkos, Joseph, and Tyler—for the claims raised in Counts II,
   19   IV, and VI of the Amended Complaint: “All renters of U.S. Private Vaults safe
   20   deposit boxes who (a) had property within their safe-deposit box seized by the
   21   federal government on or around March 22, 2021; (b) have identified themselves to
   22   the FBI since the seizure; (c) have not been notified that their safe deposit boxes are
   23   the subject of a currently ongoing administrative or judicial forfeiture proceeding;
   24   and (d) whose property is still in the possession of the federal government.”
   25        Forfeiture Subclass: Finally, Plaintiffs seek to certify the following subclass
   26   —represented by Jeni Verdon-Pearsons, Michael Storc, Travis May, and Joseph
   27   Ruiz—for the claims raised in Counts III, V, and VI of the Amended Complaint:
   28   “All renters of U.S. Private Vaults safe deposit boxes who (a) had property within
                                                   7
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    1   their safe-deposit box seized by the federal government on or around March 22,
    2   2021; (b) have identified themselves to the FBI since the seizure; (c) whose
    3   property is now the subject of a purported administrative forfeiture proceeding; and
    4   (d) whose property is still in the possession of the federal government.”
    5   III. LEGAL STANDARD
    6        Parties seeking class certification must demonstrate that they satisfy the
    7   requirements of Federal Rule of Civil Procedure 23(a) and at least one of the
    8   categories under Rule 23(b). Parsons v. Ryan, 754 F.3d 657, 674 (9th Cir. 2014)
    9   (citing Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011)).
   10   IV. ARGUMENT
   11        This case presents a quintessential scenario for class certification. As Section
   12   A explains, Plaintiffs’ claims for class relief are not moot because they have a live
   13   claim under Count I and the other counts relate back to the filing of their complaint.
   14   Section B explains that Rule 23(a)’s requirements are met for the proposed class
   15   and subclasses because the government indiscriminately searched and seized—and
   16   now seeks to forfeit—hundreds of USPV customers’ safe deposit boxes, raising
   17   serious constitutional questions that go to the heart of named Plaintiffs’ and class
   18   members’ claims, which Plaintiffs and their experienced class counsel continue to
   19   vigorously pursue. And as explained in Section C, the requirements of Rule
   20   23(b)(2) are met here because—as is common with civil rights actions such as this
   21   one—the government’s indiscriminate conduct can be enjoined and declared
   22   unlawful only as to all class members or none of them.
   23      A. Named Plaintiffs’ Claims For Class Relief Are Not Moot
   24        Before turning to the requirements of Rule 23, Plaintiffs first address the status
   25   of their class claims following the government’s moves to return property to the
   26   Named Plaintiffs. As explained in Plaintiffs’ opposition to the government’s motion
   27   to dismiss (D.E. 67 at 8–11), none of Plaintiffs’ claims are moot.
   28

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    1        First, Count I is not moot because it seeks the destruction of records generated
    2   during the government’s unlawful search. The government recorded its search and
    3   held documents up to a camera to capture the contents, Ex. K at 90–91. It used that
    4   and other information provided by class members to conduct additional unjustified
    5   intrusions into their affairs. See Zellhart Decl. ¶¶ 3–5, 7, D.E. 64-1; Ruiz Decl.
    6   ¶¶ 12–13. To redress this ongoing injury, Count I seeks an order that the
    7   government destroy these illegally obtained or generated records. See United States
    8   v. Comprehensive Drug Testing, Inc., 621 F.3d 1162 (9th Cir. 2010) (en banc)
    9   (“CDT”), overruled on other grounds as stated in Demaree v. Pederson, 887 F.3d
   10   870 (9th Cir. 2018). This presents a live case or controversy for all Plaintiffs and
   11   class members, even if they have received their property back.
   12        Second, for Counts II-VI, the government cannot moot the claims of the two
   13   subclasses by “‘picking off’ the named plaintiffs.” Chen v. Allstate Ins. Co., 819
   14   F.3d 1136, 1143 (9th Cir. 2016); see also Pitts v. Terrible Herbst, Inc., 653 F.3d
   15   1081, 1084 (9th Cir. 2011). That is precisely what the government is attempting to
   16   do here. Although the government is halting its unjustified, unexplained detention
   17   of Plaintiffs’ property and abandoning the administrative forfeitures of Plaintiffs’
   18   property based on constitutionally deficient notices, the same constitutional
   19   violations continue apace for the class members. Compare supra at pp. 2–3
   20   (returning property for Plaintiffs subject to forfeiture proceedings), with Ex. L at 98
   21   (for 283 boxes where either claim or claim plus petition for remission were filed,
   22   only 15 returned and 23 marked for return). Because allowing defendants to moot
   23   class actions by providing relief only to the named plaintiffs would undermine the
   24   purpose of class actions, courts hold that plaintiffs may pursue class certification
   25   even after a defendant provides the requested relief to the individual plaintiffs.
   26   Pitts, 653 F.3d at 1091–92. Thus, if the Court certifies the proposed subclasses, that
   27   “certification [will] relate back to the filing of the complaint” and “the case may
   28   continue despite full satisfaction of the named plaintiff’s individual claim.” Id.
                                                   9
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    1        Third, the class claims at Counts II-VI also are not moot because they are “so
    2   inherently transitory” that this Court would “not have enough time to rule on a
    3   motion for class certification” before the named Plaintiffs’ claims expire. Haro v.
    4   Sebelius, 747 F.3d 1099, 1110 (9th Cir. 2014) (ellipsis omitted in second quote)
    5   (quoting County of Riverside v. McLaughlin, 500 U.S. 44, 52 (1991)). The
    6   “essence” of this exception to mootness “is uncertainty about whether a claim will
    7   remain alive for any given plaintiff long enough for a district court to certify the
    8   class,” particularly where the duration of the claim is at the discretion of the
    9   defendant. Wilson v. Gordon, 822 F.3d 934, 946 (6th Cir. 2016) (emphasis omitted)
   10   (quoting Olson v. Brown, 594 F.3d 577, 582–83 (7th Cir. 2010)). The claims here
   11   involve the government’s unexplained retention of class members’ property and its
   12   attempts to forfeit that property using constitutionally deficient notice. But the
   13   government has the discretion to explain itself or give the property back at any
   14   moment. Indeed, despite serving class-related discovery less than two months after
   15   filing this lawsuit (well before discovery is ordinarily permitted under Rule
   16   26(d)(1)) and swiftly moving for class certification just 90 days after the complaint,
   17   Plaintiffs’ individual claims on Counts II–VI all became moot well before this
   18   Court had the opportunity to rule on class certification. See, e.g., Haro, 747 F.3d at
   19   1110; see also Belgau v. Inslee, 975 F.3d 940, 949 (9th Cir. 2020) (harm “capped at
   20   a period of one year” was inherently transitory). For this reason as well, Plaintiffs’
   21   claims at Counts II–VI relate back to the filing of the Complaint and present a live
   22   controversy for the Court’s resolution.
   23      B. This Case Satisfies The Rule 23(a) Prerequisites For Certification
   24        A party seeking to certify a class must first satisfy the four requirements of
   25   Rule 23(a): (1) numerosity; (2) commonality; (3) typicality; and (4) adequacy of
   26   representation. Parsons, 754 F.3d at 674. All four requirements are satisfied here.5
   27         5
               Most courts have concluded that the separate, judicially implied
        requirement of “an identifiable and ascertainable class” does not apply to Rule
   28
                                                                              (continued…)
                                                  10
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    1         1. Numerosity
    2        The proposed class and subclasses are “so numerous that joinder of all
    3   members is impracticable.” Fed. R. Civ. P. 23(a)(1). “To be impracticable, joinder
    4   must be difficult or inconvenient but need not be impossible.” Fraihat v. ICE, 445
    5   F. Supp. 3d 709, 736 (C.D. Cal. 2020). “[F]orty or more members will generally
    6   satisfy the numerosity requirement.” Id.; see also Rannis v. Recchia, 380 F. App’x
    7   646, 651 (9th Cir. 2010) (upholding class with just 20 members).
    8        Because information about the membership of the proposed class and
    9   subclasses is not public, Plaintiffs served discovery seeking this information on July
   10   21, 2021. Decl. of Robert E. Johnson ¶¶ 11–13. The government’s response
   11   supports a finding of numerosity—as detailed below—but the government refused
   12   to provide additional information that Plaintiffs requested to ascertain the precise
   13   size of the proposed class and subclasses. Exs. L–M. Plaintiffs will confer with the
   14   government in accordance with Local Rule 37; if that proves unfruitful, they will
   15   move this Court to compel the government to provide this basic information.
   16   Following that motion and receipt of the requested discovery, Plaintiffs will seek
   17   leave to file a short supplemental brief. See Davidson v. O’Reilly Auto Enterprises,
   18   LLC, 968 F.3d 955, 964–65 (9th Cir. 2020) (upholding class certification procedure
   19   under which court granted “additional discovery and the opportunity to file a
   20   supplemental brief”). Still, even pending further discovery, numerosity is evident:
   21        Proposed Class: This class consists of USPV box holders whose property the
   22   government seized and who have since identified themselves to the government.
   23   The government refused to answer Plaintiffs’ interrogatory about the number of
   24

   25   23(b)(2) class actions. In re Yahoo Mail Litig., 308 F.R.D. 577, 596–98 (N.D. Cal.
        2015) (collecting cases). In any event, the class here is “definite enough so that it is
   26   administratively feasible for the court to ascertain whether an individual is a
        member.” Multi-Ethnic Immigrant Workers Org. Network v. City of Los Angeles,
   27   246 F.R.D. 621, 629–30 (C.D. Cal. 2007). For similar reasons, the proposed class
        definitions adequately “define the class” as required by Federal Rule of Civil
   28
        Procedure 23(c)(1)(B).
                                                   11
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    1   class members (Ex. L at 94), but a conservative estimate is that it includes at least
    2   the approximately 249 customers who submitted a claim, petition, or both in the
    3   forfeiture proceedings and whose property has not been returned or marked for
    4   return. Ex. L at 98. See, e.g., Multi-Ethnic Immigrant Workers Org. Network, 246
    5   F.R.D. at 631 (Rule 23(b)(2) “does not require a numeric estimate”).
    6        No-Notice Subclass: This subclass includes members of the Proposed Class
    7   whose property the government still holds and who have not received notice that
    8   their property is subject to currently ongoing forfeiture proceedings. Again, the
    9   government has not disclosed information about the members of this subclass, but
   10   based on the government’s discovery responses to date we do know that there are at
   11   least 245 USPV customers who have terminated their pending administrative
   12   forfeiture proceedings by filing claims and yet who have not received their property
   13   or been told that its return is forthcoming. See Ex. L at 98. Presumably there are
   14   additional property owners who were never subjected to administrative forfeiture
   15   proceedings and who nonetheless have not received their property back.
   16        Forfeiture Subclass: This subclass includes members of the Proposed Class
   17   whose property is subject to administrative forfeiture proceedings. The government
   18   issued materially identical forfeiture notices for about 429 USPV boxes. Supra at
   19   pp. 5–6. And at least 289 identified themselves to the government by filing a claim,
   20   a petition for remission, or both. Ex. L at 98. Additional property owners who
   21   contacted the government after the raid but did not file a claim or petition likely
   22   exist and will be identified in discovery. See Davidson, 968 F.3d at 964–65.
   23         2. Commonality
   24        The proposed class and subclasses present “questions of law or fact common
   25   to the class.” Fed. R. Civ. P. 23(a)(2). Common questions “‘depend upon a
   26   common contention’ such that ‘determination of [their] truth or falsity will resolve
   27   an issue that is central to the validity of each one of the claims in one stroke.’”
   28   Parsons, 754 F.3d at 675 (quoting Dukes, 564 U.S. at 350). If there is “even a
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    1   single common question, a would-be class can satisfy the commonality
    2   requirement.” Id. (internal quotation marks omitted). Even if “members of the
    3   proposed class do not share every fact in common or completely identical legal
    4   issues,” commonality exists where “the constitutional issue at the heart of each
    5   class member’s claim for relief is common.” Rodriguez v. Hayes, 591 F.3d 1105,
    6   1122 (9th Cir. 2010).
    7        Proposed Class: The proposed class claims that the government’s search of
    8   class members’ USPV boxes violated the Fourth Amendment. FAC ¶ 168.
    9   Common questions include the scope of the inventory search authorized by the
   10   March 17, 2021, seizure warrant; whether the inventory exception to the warrant
   11   requirement applied to the government’s purported inventory search of the USPV
   12   boxes; whether the government exceeded the permissible scope of the inventory
   13   search authorized by the seizure warrant and instead conducted a criminal
   14   investigatory search; whether the government’s search therefore violated the Fourth
   15   Amendment, and whether the government’s disregard of the limits of the warrant
   16   and callous disregard for constitutional rights requires ordering it to destroy its
   17   copies of the illegally obtained records, see CDT, 621 F.3d at 1174.
   18        No-Notice Subclass: The No-Notice Subclass seeks to vindicate whether the
   19   government’s failure to justify its continued retention of class members’ property
   20   violates the Fourth Amendment (FAC ¶¶ 173–81), and whether doing so without
   21   notice and an opportunity for class members to be heard violates the Fifth
   22   Amendment (id. ¶ 206). The common questions at the heart of the claim for relief
   23   are whether the Fourth Amendment requires the government to separately justify its
   24   continued seizures of class members’ property, see Brewster v. Beck, 859 F.3d
   25   1194, 1197 (9th Cir. 2017), whether due process requires the government to tell
   26   class members why it continues to hold their property, see Al Haramain Islamic
   27   Found., Inc. v. U.S. Dep’t of Treasury, 686 F.3d 965, 987 (9th Cir. 2012), and
   28   whether the government may require class members to subject themselves to a
                                                  13
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    1   criminal investigation before receiving their property, see Boyd v. United States,
    2   116 U.S. 616, 630 (1886). Challenges to government failures to provide adequate
    3   notice and other procedural protections present common questions even if there are
    4   individual differences that might impact the ultimate outcome of any related
    5   proceedings. See Rodriguez, 591 F.3d at 1123 (9th Cir. 2010) (whether due process
    6   required hearing for detained immigrants was common question); Walters v. Reno,
    7   145 F.3d 1032, 1045 (9th Cir. 1998) (whether government provided notice required
    8   by due process presented the “same constitutional question”).
    9        Forfeiture Subclass: The Forfeiture Subclass challenges the constitutionality of
   10   the government’s procedures in seeking to forfeit class members’ property, namely,
   11   without any apparent individualized determinations of probable cause and without
   12   disclosing the factual and legal bases for the forfeiture. See Gete v. INS, 121 F.3d
   13   1285, 1297 (9th Cir. 1997); TRO Order at 3–5. Common questions include what
   14   procedures the government used to determine whether USPV boxes were subject to
   15   forfeiture, whether class members received materially identical forfeiture notices,
   16   and whether those notices sufficiently disclosed the factual and legal bases for the
   17   forfeiture. See Gonzalez v. ICE, 975 F.3d 788, 809 (9th Cir. 2020) (“Fourth
   18   Amendment claims concerning government policies, practices or procedures for
   19   probable cause determinations are plainly suitable for classwide resolution”); Gete
   20   v. INS, No. 94-cv-881Z, 1999 U.S. Dist. LEXIS 11806, at *4 (W.D. Wash. July 21,
   21   1999) (whether INS complied with probable cause requirements and provided
   22   adequate notice during forfeiture proceedings presented common questions).
   23   Challenges to forfeiture procedures readily satisfy the commonality requirement
   24   even if differences among class members might impact the outcome of individual
   25   forfeiture proceedings. See Sourovelis v. City of Philadelphia, 320 F.R.D. 12, 21–
   26   22 (E.D. Pa. 2017); Gete, 1999 U.S. Dist. LEXIS 11806, at *4.
   27

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    1         3. Typicality
    2        Plaintiffs’ “claims . . . are typical of the claims . . . of the class.” Fed. R. Civ.
    3   P. 23(a)(3). “Under the rule’s permissive standards, representative claims are
    4   ‘typical’ if they are reasonably coextensive with those of absent class members;
    5   they need not be substantially identical.” Parsons, 754 F.3d at 685 (internal
    6   quotation marks omitted). Typicality exists “when each class member’s claim arises
    7   from the same course of events, and each class member makes similar legal
    8   arguments to prove the defendant’s liability.” Rodriguez, 591 F.3d at 1124.
    9        Proposed Class: All seven named plaintiffs seek to represent the proposed
   10   class of USPV customers whose property was seized and who identified themselves
   11   to the government. Each “claim arises from the same course of events,” id.: the
   12   government’s search and seizure of the USPV boxes. And Plaintiffs and class
   13   members will each make identical legal arguments to prove the government’s
   14   liability: that the inventory exception to the Fourth Amendment’s warrant
   15   requirement did not apply, that the government conducted a criminal search rather
   16   than an inventory search, and that the government’s indiscriminate search and
   17   seizure of class members’ property therefore violated the Fourth Amendment. See
   18   id. Indeed, the typicality requirement is readily satisfied when class members face
   19   the same indiscriminate search and seizure. See, e.g., Hickey v. City of Seattle, 236
   20   F.R.D. 659, 665–66 (W.D. Wash. 2006) (claims by named plaintiffs arrested during
   21   protest without probable cause were typical of others arrested during same protest).
   22        No-Notice Class: Plaintiffs Paul and Jennifer Snitko, Tyler Gothier, and
   23   Joseph Ruiz seek to represent the No-Notice Subclass, comprised of USPV box
   24   holders who are members of the main proposed class, whose property is being held
   25   by the government but who have received no explanation for the continued
   26   detention. Their claims arise from “the same course of events,” Rodriguez, 591 F.3d
   27   at 1124, as other members of the subclass: the government’s prolonged,
   28   unexplained seizure of the contents of the USPV boxes. And named plaintiffs and
                                                    15
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    1   each class member will make “similar,” if not identical, “legal arguments to prove”
    2   the government’s liability, id.: that the government must separately justify its
    3   continued seizure of their property, Brewster, 859 F.3d at 1197, and that it must
    4   provide class members with notice of the reasons for the seizure and a meaningful
    5   opportunity to seek the return of their property, Al Haramain, 686 F.3d at 987. That
    6   the government may have different underlying reasons for any given continued
    7   detention is inconsequential, because named plaintiffs all “raise similar
    8   constitutionally-based arguments and are alleged victims of the same practice of
    9   prolonged detention.” Rodriguez, 591 F.3d at 1124; see Franco-Gonzales v.
   10   Napolitano, No. 10-cv-02211, 2011 WL 11705815, at *13 (C.D. Cal. Nov. 21,
   11   2011) (claims typical because they turned on whether class members had a right to
   12   be evaluated for competency, not whether they were in fact incompetent).
   13        Forfeiture Class: Plaintiffs Jeni Verdon-Pearsons, Michael Storc, Joseph Ruiz,
   14   and Travis May seek to represent the Forfeiture Subclass, comprised of class
   15   members whose property the government targeted for administrative forfeiture.
   16   This subclass challenges a common “course of events,” Rodriguez, 591 F.3d at
   17   1124: the government used an arbitrary and standardless procedure to determine
   18   which USPV boxes to seek to administratively forfeit, FAC ¶¶ 193–96, and it sent
   19   class members identical forfeiture notices that did not apprise class members of the
   20   legal and factual bases for the forfeiture, id. ¶¶ 212–17; Jobe Decl. ¶ 7, D.E. 55-1.
   21   Plaintiffs and subclass members in turn will assert identical legal arguments to
   22   contend that government’s conduct was illegal: first, that the government’s
   23   “arbitrary and . . . standardless” procedure for determining which property to seek
   24   to forfeit “fails as a matter of policy and practice to apply the constitutionally-
   25   mandated standards for determining whether probable cause in fact exists,” see
   26   Gete, 121 F.3d at 1295, and second, that the failure of the administrative forfeiture
   27   notices to apprise class members of the factual and legal bases for the purported
   28   forfeitures violates due process, see id. at 1297. Courts find the typicality
                                                   16
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    1   requirement satisfied when, as here, the class representatives are subject to the same
    2   unconstitutional procedures as class members. See Sourovelis, 320 F.R.D. at 22–23;
    3   Gete, 1999 U.S. Dist. LEXIS 11806, at *4–5.
    4         4. Adequacy
    5        Plaintiffs and their counsel also “will fairly and adequately protect the
    6   interests of the class.” Fed. R. Civ. P. 23(a)(4). The adequacy inquiry turns on two
    7   questions: “(1) do the named plaintiffs and their counsel have any conflicts of
    8   interest with other class members and (2) will the named plaintiffs and their counsel
    9   prosecute the action vigorously on behalf of the class?” Hanlon v. Chrysler Corp.,
   10   150 F.3d 1011, 1020 (9th Cir. 1998).
   11        Class Representatives: Plaintiffs will fairly and vigorously pursue the classes’
   12   claims. There are no conflicts of interest between Plaintiffs and the other class
   13   members, who all suffered the same indiscriminate search and seizure of the
   14   property stored in their USPV boxes. And Plaintiffs have already demonstrated
   15   their vigorous representation of the interests of the class and subclasses that they
   16   represent by submitting declarations 6 and securing a preliminary injunction and a
   17   separate temporary restraining order that was converted into a preliminary
   18   injunction.7 See Franco-Gonzales, 2011 WL 11705815, at *14 (seeking and
   19   obtaining injunctive relief “bolsters the adequacy” of named plaintiffs). Even after
   20   the return of their property, Plaintiffs remain committed to vigorously representing
   21   the class. P. Snitko Decl. ¶ 14; J. Snitko Decl. ¶ 14; Gothier Decl. ¶ 13; Ruiz Decl.
   22   ¶ 14; Verdon-Pearsons Decl. ¶ 18; Storc Decl. ¶ 17; May Decl. ¶ 13.
   23        Plaintiffs’ Counsel: Under Rule 23(a)(4) and Rule 23(g), Plaintiffs’ counsel
   24   also will vigorously represent the class and subclasses in this litigation. An order
   25   certifying a class action must appoint class counsel under Rule 23(g). Fed. R. Civ.
   26
              6
                P. Snitko Decl., D.E. 26-2; J. Snitko Decl., D.E. 26-5; Ruiz Decl., D.E. 26-
   27   6; Gothier Decl., D.E. 26-8; Ruiz Decl., D.E. 65-1; Verdon-Pearsons Decl., D.E.
        67-1.
   28         7
                PI Order; TRO Order; Order Re: Req. for Prelim. Inj., D.E. 58.
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    1   P. 23(c)(1)(B). Under Rule 23(g), the Court also must consider four factors related
    2   to the proposed class counsel’s adequacy.8 Plaintiffs’ counsel—the Institute for
    3   Justice and local counsel, Nilay Vora and Jeffrey Atteberry of the Vora Law
    4   Firm—satisfy each factor.
    5        First, Plaintiffs’ counsel have already performed substantial work identifying
    6   and investigating potential claims, amending the complaint to account for new
    7   unlawful government conduct, filing two separate motions for preliminary relief
    8   and several other responsive filings, and serving class-related discovery.
    9        Second, Plaintiffs’ counsel has extensive experience litigating class actions,
   10   including one involving the adequacy of government procedures following property
   11   seizures. See Sourovelis, 320 F.R.D. at 23 (finding that the Institute for Justice was
   12   qualified to represent class challenging city’s civil forfeiture program); Decl. of
   13   Robert Frommer ¶ 5. Local counsel also are experienced trial attorneys with
   14   extensive experience litigating civil rights cases. Id. ¶¶ 10–14.
   15        Third, Plaintiffs’ counsel has deep knowledge of the applicable law. The
   16   Institute for Justice has a proven record vigorously challenging civil forfeitures and
   17   unconstitutional searches. Id. ¶¶ 5–9. And lastly, Plaintiffs’ counsel will devote
   18   sufficient resources to vigorously represent the class and to put an end to the
   19   government’s unlawful treatment of USPV box holders. Id. ¶ 15.
   20      C. This Case Meets The Requirements For Rule 23(b)(2) Certification
   21        Certification of the proposed class and subclasses under Rule 23(b)(2) is
   22   appropriate because the government “has acted or refused to act on grounds that
   23   apply generally to the class, so that final injunctive relief or corresponding
   24   declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.
   25

   26         8
                The four factors are (i) the work counsel has done in identifying or
        investigating potential claims in the action; (ii) counsel’s experience in handling
   27   class actions, other complex litigation, and the types of claims asserted in the
        action; (iii) counsel’s knowledge of the applicable law; and (iv) the resources that
   28
        counsel will commit to representing the class. Fed. R. Civ. P. 23(g)(1)(A).
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    1   23(b)(2). “[T]he primary role” of Rule 23(b)(2) “has always been the certification
    2   of civil rights class actions.” Parsons, 754 F.3d at 686. A Rule 23(b)(2) class is
    3   appropriate where “the conduct is such that it can be enjoined or declared unlawful
    4   only as to all of the class members or as to none of them.” Id. at 687–88 (quoting
    5   Dukes, 564 U.S. at 360). These criteria are satisfied here.
    6        Proposed Class: Plaintiffs and the members of the proposed class face the
    7   same government actions that “apply generally to the class”: the search and seizure
    8   of USPV boxes based on a single warrant (Ex. B), supported by the same affidavit
    9   (Ex. A), and purporting to implement the same inventory procedures (id.). Those
   10   searches and seizures involved drilling open every class member’s box and creating
   11   a visual record of the contents of each box. Ex. C; Ex. K at 90–91.
   12        As relief, Plaintiffs seek a class-wide declaration that the search of class
   13   members’ USPV safe deposit boxes, and the continued retention of records and
   14   evidence generated during that search, violate the Fourth Amendment. Plaintiffs
   15   also seek a class-wide permanent injunction enjoining Defendants from continuing
   16   to retain the records generated and evidence collected during the unlawful search.
   17   FAC at 49–51, ¶¶ H.i–.ii, I. A Rule 23(b)(2) class action is appropriate because this
   18   “single injunction and declaratory judgment could provide relief to each member of
   19   the proposed class.” Parsons, 754 F.3d at 689.
   20        No-Notice Subclass: The members of the No-Notice Subclass similarly
   21   challenge government conduct applicable to the entire subclass: despite the
   22   continued detention of class members’ property (including documents and precious
   23   metals), the government has neither provided a justification for that detention nor
   24   provided any process for the prompt return of the property.
   25        For relief, this subclass requests declarations that the continued seizure of
   26   class members’ property without providing any justification and without providing
   27   notice or a prompt post-seizure opportunity to be heard are unlawful, and an
   28   injunction enjoining the government from retaining that property without stating a
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    1   justification and without providing notice and an opportunity to be heard. FAC at
    2   49–51, ¶¶ H.iii, .v, .vii; J. Certifying this subclass is appropriate because requiring
    3   the government to provide notice and an opportunity to be heard “would provide
    4   relief to all [sub]class members, or to none of them.” Fraihat, 445 F. Supp. 3d at
    5   741; see also Rodriguez, 591 F.3d at 1126 (challenge to failure to provide bond
    6   hearings sought “relief from a single practice”); Walters, 145 F.3d at 1046-47 (class
    7   appropriate where challenge was to insufficient notice rather than underlying merits
    8   of deportation proceedings).
    9        Forfeiture Subclass: The members of the Forfeiture Subclass also challenge
   10   government conduct that applied to each member of the subclass: the
   11   commencement of administrative forfeiture proceedings without any individualized
   12   determination of probable cause, and the use of an identical administrative
   13   forfeiture notice that failed to state any legal or factual basis for the forfeiture.
   14        As for relief, this subclass seeks class-wide declaratory relief that this conduct
   15   violates the Fourth and Fifth Amendments. Plaintiffs also seek a class-wide
   16   injunction enjoining the government from civilly forfeiting class members’
   17   property without first determining if there is probable cause to believe the property
   18   is subject to forfeiture and providing class members with adequate notice of the
   19   factual and legal bases for the forfeiture. Id. at 50-51, ¶¶ H.iv, .vi–.vii; K. These
   20   requests for declaratory and injunctive relief against generally applicable “policies
   21   and procedures used in civil forfeiture proceedings” are “classic examples of the
   22   types of claims that should be certified under Rule 23(b)(2).” Sourovelis, 320
   23   F.R.D. at 25; see also Gete, 1999 U.S. Dist. LEXIS 11806, at *5.
   24   V. CONCLUSION
   25        For these reasons, Plaintiffs respectively request that this Court certify the
   26   proposed classes and subclasses, designate Plaintiffs as class representatives, and
   27   appoint Plaintiffs’ counsel as class counsel.
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        Dated: August 26, 2021                 Respectfully Submitted,
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